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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



UNITED STATES

        v.
                                                            Criminal No. 16-CR-10343-ADB
MICHAEL J. GURRY, et al.,

        Defendants.



              MOTION TO EXTEND TIME TO FILE POST-TRIAL MOTIONS

       Pursuant to Federal Rule of Criminal Procedure 45(b), Defendants respectfully request that

the Court extend the time in which to file Defendants’ post-trial motions.

       1.      The Court has reserved on two pending motions for judgment of acquittal. See

Mot. for Acquittal as to All Defendants, Dkt. 816 (April 1, 2019); Mot. for Acquittal as to Sunrise

Lee, Dkt. 817 (April 1, 2019). Pursuant to Federal Rule of Criminal Procedure 29(c), Defendants

intend to renew and supplement these motions and, in addition, to file one or more motions for a

new trial pursuant to Federal Rule of Criminal Procedure 33. Unless the Court extends the time

in which to file these motions, they would be due 14 days after the return of the jury’s verdict, i.e.,

on May 16, 2019. See Fed. R. Crim. P. 29(c)(1), 33(b)(2).

       2.      Given the duration and complexity of the trial in this case, and the press of demands

from other matters after defense counsel have returned from four months of trial, Defendants

respectfully request additional time in which to prepare their post-trial motions. Defendants

propose the following briefing schedule:

                       Defendants’ opening briefs:             Thursday, June 6, 2019

                       Government’s response briefs:           Friday, June 28, 2019
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                      Defendants’ replies:                 Wednesday, July 10, 2019

       3.      Counsel for Dr. Kapoor contacted counsel for the government on May 13, 2019 to

seek the government’s consent to this motion. As of the time of filing of this motion, Defendants

had not received a response.

       WHEREFORE, Defendants request that the Court grant this motion and set a briefing

schedule as set forth above.




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Dated: May 13, 2019                      Respectfully submitted,

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                            LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that I attempted to confer with counsel
for the government, but was unable to ascertain the government’s position as to this motion.

                                             /s/ Kosta S. Stojilkovic
                                             Kosta S. Stojilkovic
                                             Counsel for Dr. John Kapoor


                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document will be served on counsel for all parties of
record through the ECF system.

                                             /s/ Kosta S. Stojilkovic
                                             Kosta S. Stojilkovic
                                             Counsel for Dr. John Kapoor




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